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9ev.   02/2006
                               COURTROOM MINUTES OF CRIMINAL PROCEEDINGS
                                             Norfolk Division


SENTENCING MINUTES

                                                    Date:             August 1, 2018
Set:        2:00 P.m.
Started:              2:00 p.m.                     Judge:    Rebecca Beach Smith
Ended:           2:35 p.m.                          Court Reporter:  Jody Stewart, OCR
                                                    U.S. Attorney: Stephen Havnie and
                                                    Alan Salsburv, AUSA                ^
                                                    Defense Counsel; Eric Leckie, c/a
                                                    Courtroom Deputy:    Susan Cherry
                                                    Probation Officer:  Tara Gill

Case No.                 2;16cr55
Defendant:                Shakir McNeal              ( X )ln custody         (   )0n bond


       X    Matter came on for disposition.

            USA's Motion for One Level Reduction {document #35).
                                      Granted.              Denied.

       X     Court adjudged defendant guilty of Count                 1   of the Indictment, after
 entering a plea of guilty before a Magistrate Judge.
       X    presentence Report reviewed.                         Objections heard and rulings made.
            Evidence presented. (Witnesses and exhibits listed on last page)
       X Arguments of counsel heard.                 X      Statement of defendant heard.

 IMPRISONMENT;
 SENTENCE: Count 1                   : The defendant shall be committed to the custody of the
 BOP to be imprisoned for a total term of                   63     months.
       X     The Court makes the following recommendations to the Bureau of Prisons:
              1) The defendant shall participate in a substance abuse treatment
                      program, to include the Residential Drug Abuse Treatment Program (RDAP),
                      with a   focus on alcohol abuse.

                 2)    The defendant shall undergo a full mental health evaluation and shall
                      receive all appropriate mental health treatment and counseling, in
                      particular for fraud mentality and anger management.

                 3)    The court recommends that the defendant be incarcerated in a facility
                      on the West Coast as close to the State of California as possible.


       X         The defendant is remanded to the custody of the U.S. Marshal.
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SUPERVISED RELEASE;

 X Upon release from imprisonment, the defendant shall be on supervised
release for a term of        3    years.



Special Conditions of Supervised Release;

  1)          The defendant shall apply monies received from income tax refionds,
        lottery winnings, inheritances, judgments, and any anticipated or unexpected
        financial gains to the outstanding court-ordered financial obligation,
        a lesser amount to be determined by the Court upon the recommendation of the
        probation officer.

   2)         The defendant shall not incur new credit charges or open additional
        lines of credit without the approval of the probation officer.
   3)         The defendant shall provide the probation officer access to any
        requested financial information.

   4)        During the period of supervised release, the defendant shall prcwide a
        copy of his state and federal income tax returns each year to the probation
        officer.


   5)         The defendant shall participate in a program approved by the United
         States Probation Office for financial counseling. The cost of this program
         is to be paid by the defendant as directed by the probation officer.
   6)          The defendant shall participate in the Treasury Offset Program (TOP)
         as directed by the probation officer.

   7)          The defendant is prohibited from drinking alcohol during his period of
         supervised release.

   8)         The defendant will be subjected to random urinalysis testing while on
         supervised release. If at any time, the defendant tests positive for the^
         use of any controlled substance or abuse of alcohol, he shall participate in
         a program approved by the United States Probation Office for substance
         abuse, which program may include residential treatment and testing to
         determine whether the defendant has reverted to the use of drugs or alcohol,
         with the costs to be paid by the defendant, all as directed by the probation
         officer.


   9)          The defendant shall continue to participate in a mental health
         treatment and counseling program at the direction and discretion of the
         probation officer. The defendant shall bear the costs of this program.
   10)         The defendant shall waive all rights of confidentiality regarding
          substance abuse/mental health treatment in order to allow the release of
          information to the United States Probation Office and authorize
          communication between the probation officer and the treatment provider.
    11}        The court does not deny federal benefits because the denial is not
          applicable.
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                                 FINANCIAL PENALTIES

 V The court waives the cost of prosecution, incarceration, and supervised
release, except to the extent the defendant will have to bear costs as outlined
in the Special Conditions of Supervision.


SPECIAL ASSESSMENTi

               I   As to count     1
            in the amount of $100.00
                                       , the defendant shall pay a special assessment

                   As to count             the defendant shall pay a special assessment
            in the amount of           .



The total special assessment due is $100.00          and shall be due in full
immediately.



FINE:_
         No fines have been imposed in this case.

         The defendant shall pay a fine in the amount of ^



RESTITUTION;

  >y The defendant shall make restitution in the amount of $                              .
  \/ Restitution Judgment Order, entered and filed in open court.

SCHEDULE OF PAYMENTS;

  n/ Interest on the restitution has been waived.
      Interest accrues as provided in 18 U.S.C. § 3612(f).
  "N The special assessment/fine/restitution is due and payable immediately.
The defendant shall pay to the Clerk at least $M-CD'CD per month beginning sixty
(60) days from the inception of supervised release toward any restitution
remaining unpaid. The court reserves the option to alter this amount, depending
upon defendant's financial circumstances at the time of supervised release and
depending upon how much restitution has been paid.

      Restitution shall be made jointly and severally with
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     Nothing in the Court's order shall prohibit the collection of any judgment
or fine by the United States.
      The defendant notified of right of appeal.
 V, Court noted that defendant waived right of appeal in plea agreement.
 5    On motion of the government, remaining counts dismissed.
      The defendant is continued on present bond and cautioned re bail jumping.



 J    Consent Order of Forfeiture, executed and filed in open court.


Additional Counts/Comments;
